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        key 1:21-cr-00731-RC
            to move from fieldDocument
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                                         38this form.
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NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                         Criminal Number         21 CR 731

Lawrence Ligas
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:              (Please check one)


 9       CJA                9      RETAINED          9■      FEDERAL PUBLIC DEFENDER
                                                                            Digitally signed by Piyush
                                               Piyush Chandra Chandra
                                                              Date: 2023.03.09 15:01:22 -06'00'

                                                                  (Signature)



                                           PLEASE PRINT THE FOLLOWING INFORMATION:

                                          Piyush Chandra - Illinois 6197575
                                                          (Attorney & Bar ID Number)
                                          Federal Defender Program
                                                                 (Firm Name)

                                          55 E. Monroe # 2800
                                                               (Street Address)

                                          Chicago          Illinois             60603
                                           (City)                 (State)              (Zip)

                                          312-621-8337
                                                             (Telephone Number)
